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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,           )
                                    )
            v.                      )  Case No. 17-cr-201-1-ABJ
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)

                   FINAL ORDER OF FORFEITURE AS TO
          NORTHWESTERN MUTUAL LIFE INSURANCE POLICY NO. 18268327

        WHEREAS, the United States filed a Motion for a Final Order of Forfeiture, and the

Court has reviewed the underlying record and makes the following findings:

        a.       On September 14, 2018, a written Plea Agreement was filed with this Court and

signed by the defendant, Paul J. Manafort, Jr., and his counsel, in which the defendant agreed to

plead guilty to a Superseding Criminal Information ("Information") charging, inter alia, a

conspiracy to violate the Foreign Agents Registration Act ("FARA"), in violation of Title 18,

United States Code, Sections 371 and 3551 et seq. and Title 22, United States Code, Sections

612, 618(a)(l), and 618(a)(2), and the defendant has pled guilty to that offense ("Count One").

Cr. Dkt. Nos. 419, 422, 423. 1

        b.       The Information gave notice that upon conviction of Count One, the United States

would seek the forfeiture of any property real or personal, which constitutes or is derived from


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 Docket entries from United States v. Paul J. Manafort, Jr., Case No. 17-cr-201-1 (D.D.C.) are referred to as “Cr.
Dkt. No.”. Docket entries from the miscellaneous case number for the ancillary proceedings In Re: Petitions for
Relief Concerning Consent Order of Forfeiture, Case No: 1:18-mc-167 (D.D.C.) are referred to as “Mc. Dkt. No.”.

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proceeds traceable to the offense alleged in Count One, including, inter alia, a conspiracy to

violate FARA, which property is subject to forfeiture pursuant to Title 18, United States Code,

Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c). Cr. Dkt. No. 419.

       c.      The Information further alleged that the United States would seek a personal

money judgment of forfeiture against the defendant representing the value of any property, real

or personal, which constitutes or is derived from proceeds traceable to the offenses alleged in

Count One, including, inter alia, a conspiracy to violate FARA, which property is subject to

forfeiture pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United

States Code, Section 2461(c), and that such a money judgment of forfeiture was "to be offset by

the forfeiture of any specific property." Cr. Dkt. No. 419.

       d.      The Information alleged that, if any of the property subject to forfeiture, as a

result of any act or omission of the defendant, inter alia, has been transferred or sold to, or

deposited with a third party, or has been commingled with other property that cannot be

subdivided without difficulty, the United States would seek forfeiture of any other property of

said defendant in substitution for such property ("Substitute Property") pursuant to 18 U.S.C. §

982(b) and 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(p). Cr. Dkt. No. 419.

       e.      In his Plea Agreement, the defendant admitted to the forfeiture allegations in the

Information, and, in his Statement of the Offenses and Other Acts ("Statement"), he admitted

that he obtained at least $11,000,000 as a result of his conspiracy to violate the FARA in

violation of 18 U.S.C. § 371, 22 U.S.C. §§ 612 and 618. Cr. Dkt. No. 422 at 10, 423 at 2-3.

       f.      In his Plea Agreement, the defendant agreed, inter alia, that certain specific assets

constitute or are derived from proceeds traceable to the conspiracy to violate FARA offense

alleged in Count One, or is property traceable thereto, and consented to the forfeiture of such



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property pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), including, but not limited

to, the following (the “Insurance Policy”):

                  Northwestern Mutual Universal Life Insurance Policy No. 18268327 and any
                  property traceable thereto.

Cr. Dkt. No. 422 at ¶ 12.

        g.        The defendant further agreed that the Insurance Policy could additionally be

forfeited as Substitute Property pursuant to 18 U.S.C. § 982(b), 21 U.S.C. § 853(p) and 28

U.S.C. § 2461(c). Cr. Dkt. No. 422 at 11.

        h.        On October 10, 2018, with the defendant’s consent, the Court entered a Consent

Order of Forfeiture signed by the Court on October 9, 2018, constituting a preliminary order of

forfeiture (“Consent Order of Forfeiture”). Cr. Dkt. No. 443. In the Consent Order of Forfeiture,

this Court found, based on the evidence and information before it, including the defendant’s Plea

Agreement, that the Insurance Policy was subject to forfeiture, and the Court so ordered its

forfeiture. Id.

        i.        The United States established the requisite nexus between the Insurance Policy

and the defendant’s offense, and that the defendant was a source of funds for payments under the

Insurance Policy.

        j.        On March 13, 2019, the defendant was sentenced and the Court entered an

amended Order of Forfeiture pursuant to Rule 32.2(b)(1) and (b)(2) of the Federal Rules of

Criminal Procedure (“March 13, 2019 Order of Forfeiture”). In the March 13, 2019 Order of

Forfeiture, the Court again found that the Insurance Policy was subject to forfeiture pursuant to

18 U.S.C. §§ 981(a)(1)(C), 982(b), 21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c) and so ordered

its forfeiture. The Court also found that the defendant obtained at least $11,000,000 in proceeds

from the conspiracy to violate FARA alleged in Count One, for which he was convicted, and,

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accordingly, entered a Personal Money Judgment against the defendant in the amount of

$11,000,000 pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 28 U.S.C. § 2461(c). Cr. Dkt. No. 549.

       k.      The March 13, 2019 Order of Forfeiture decreed that the net proceeds realized by

the United States upon the disposition of forfeited properties, including the Insurance Policy, be

credited to the Personal Money Judgment of Forfeiture. Cr. Dkt. No. 549.

       l.      The March 13, 2019 Order of Forfeiture was final as to the defendant upon its

entry, and was made part of his sentence and included in the judgment pursuant to Rule

32.2(b)(4) of the Federal Rules of Criminal Procedure. Cr. Dkt. Nos. 549, 556, 556-1.

       m.      The Insurance Policy is held in the Manafort Family 2008 Irrevocable Trust.

William Clayton Batchelor is the sole trustee of the Manafort Family 2008 Irrevocable Trust and

is the person identified as the owner and direct beneficiary under the terms of the Insurance

Policy. See Stipulation and Order of Settlement Regarding Petition of William Clayton

Batchelor and Northwestern Mutual Universal Life Insurance Policy No. 18268327 (“Batchelor

Stipulation and Order”) at ¶1, 4.

       n.      In his Plea Agreement, the defendant, in addition to agreeing to the forfeiture,

represented that “he is either the sole and rightful owner and that no other person or entity has

any claim or interest, or that he has secured the consent from any other individuals or entities

having an interest in the [Insurance Policy] to convey their interests in the [Insurance Policy] to

him prior to the entry of the Order of Forfeiture (with the exception of previously disclosed

mortgage holders.).” Cr. Dkt. No. 422 at 12.

       o.      In accordance with 21 U.S.C. § 853(n)(1), Rule 32.2(b)(6)(C) of the Federal

Rules of Criminal Procedure, and Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions (the “Supplemental Rules”), a Notice of



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Forfeiture with respect to the properties named in the Consent Order of Forfeiture, including the

Insurance Policy, was posted on an official government internet site (www.forfeiture.gov) for at

least 30 consecutive days, beginning on October 13, 2018 and ending on November 11, 2018.

Proof of publication was filed with the Court on March 11, 2019 as an attachment to the United

States’ Declaration of Notice and Publication. Cr. Dkt. No. 545.

       p.      The published notice explained that any person asserting a legal interest in the

properties named in the Consent Order of Forfeiture, including the Insurance Policy, was

required to file a petition with the Court within sixty (60) days from the first day of publication

of the notice on the government internet site, and that if no such petitions were filed within the

filing period, the United States would have clear title to the properties. Cr. Dkt. No. 545.

       q.      In accordance with 21 U.S.C. § 853(n)(1), Rule 32.2(b)(6)(D) of the Federal

Rules of Criminal Procedure, and Supplemental Rules G(4)(b)(iii)-(v), the United States also

sent direct written notice to any persons who reasonably appeared to be a potential claimant with

standing to contest the forfeiture in the ancillary proceeding or were known to have alleged an

interest in the forfeited property, by means reasonably calculated to reach them, as described in

the United States’ Declaration of Notice and Publication, including, but not limited to: William

Clayton Batchelor (also, “Clay Batchelor”). Cr. Dkt. No. 545-1 at 12. The government also

provided direct written notice to named powerholders and beneficiaries of the Manafort Family

2008 Irrevocable Trust believed to be living. Id. at 12-16.

       r.      The United States has complied with Rule 32.2(b)(6) of the Federal Rules of

Criminal Procedure concerning direct written notice and notice by publication, as described in

the United States Declaration of Notice and Publication. Cr. Dkt. Nos. 549, 556-1. The content

of the notice was compliant with Rule 32.2(b)(6) and no further notice is required. Id. at ¶4.



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       s.      Following notice of the Consent Order of Forfeiture, William Clayton Batchelor

filed a petition asserting an interest in the Insurance Policy. Mc. Dkt. No. 6. No other petitions

were filed or made in this action or under the miscellaneous case number assigned to the

ancillary proceedings in this case, In Re: Petitions for Relief Concerning Consent Order of

Forfeiture, Case No: 1:18-mc-167, with respect to the Insurance Policy. No other parties have

appeared to contest the forfeiture of the Insurance Policy to date and the statutory time periods in

which to do so have expired.

       t.      On January 24, 2019, the Court endorsed a Stipulation and Order of Settlement

between the United States and Petitioner William Clayton Batchelor resolving his petition (the

“Batchelor Stipulation and Order”), a copy of which is attached hereto as Appendix 1 and which

is incorporated herein by reference as if set out in full. Mc. Dkt. No. 25.

       u.      Pursuant to 21 U.S.C. § 853(n)(7) and Fed. R. Crim. P. 32.2(c)(2), the United

States shall have clear title to any forfeited property following the Court’s disposition of all

petitions and the expiration of the time period provided for the filing of petitions.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       1.      Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(b), 28 U.S.C. § 2461(c) and Rule 32.2

of the Federal Rules of Criminal Procedure, all right, title and interest in the following property

is hereby forfeited to the United States of America:

               The Northwestern Mutual Universal Life Insurance Policy No. 18268327 and any
               property traceable thereto, subject to the terms of the Batchelor Stipulation and
               Order filed January 28, 2019, a copy of which is attached as Appendix 1.

       2.      The forfeiture of the Insurance Policy was made final as to the defendant and

made part of the sentence and included in the judgment on March 13, 2019, under Rule

32.2(b)(4) of the Federal Rules of Criminal Procedure.



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       3.       The United States has clear title to the Insurance Policy pursuant to Federal Rule

of Criminal Procedure 32.2(c)(2) and 21 U.S.C. § 853(n)(7), and, subject to the Batchelor

Stipulation and Order, any and all interests that any other third party may have had in the

Insurance Policy, including any interests of the powerholders and beneficiaries are hereby

extinguished.

       4.       The United States Marshals Service, or any other duly authorized law

enforcement official, shall dispose of the Insurance Policy according to law and the terms of the

Batchelor Stipulation and Order.

       5.       Nothing in this Order shall affect any property subject to the March 13, 2019,

Order of Forfeiture other than the Insurance Policy or any petition asserting an interest in any

such other property.

       6.       Any net sale or liquidation proceeds realized by the United States shall be

credited to the Personal Money Judgment of Forfeiture against the defendant entered on March

13, 2019.

       7.       The Court retains jurisdiction to take additional action, enter further orders, and

amend this and any future orders as necessary to implement and enforce this Order.

       8.       The Clerk of the Court is hereby directed to send copies to all counsel of record.


                  30th            May
SO ORDERED, this ______ day of _______________, 2019




                                               THE HONORABLE AMY BERMAN JACKSON
                                               UNITED STATES DISTRICT JUDGE


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                           APPENDIX 1

           Stipulation and Order of Settlement Regarding
          Petition of Citizens William Clayton Batchelor and
       Northwestern Mutual Life Insurance Policy No. 18268327
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